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AO 136 (Rev. 9/98) Certificate of Good Standing



                                   UNITED STATES DISTRICT COURT
                                                  MIDDLE DISTRICT OF GEORGIA


                                        CERTIFICATE OF GOOD STANDING




                                 I, David W. Bunt, Clerk of this Court,

                       certify that JAKE KNANISHU, Bar No. 597103

                        was duly admitted to practice in this Court on

                           January 11, 2022, and is in good standing

                                as a member of the Bar of this Court.

                      Dated at Athens, Georgia on August 15, 2023.




                     David W. Bunt                                        s/ Gail G. Sellers
                        CLERK                                             DEPUTY CLERK
